Case 08-14631-GMB Doc 126-1 Filed 04/09/08 Entered 04/09/08 14:50:12                        Desc
         Certification of Diane Vuocolo in support of application Page 1 of 2



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   Counsel for Arch Acquisition I, LLC

                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW JERSEY
                                  CAMDEN VICINAGE


                                                     :   Case No. 08-14631 (GMB)
   In re:                                            :   (Jointly Administered)
                                                     :
   Shapes/Arch Holdings L.L.C., et al.               :   Chapter 11
                                                     :
                             Debtors.                :
                                                     :


    CERTIFICATION OF DIANE E. VUOCOLO IN SUPPORT OF APPLICATION
      FOR THE ADMISSION OF NANCY A. MITCHELL, ESQUIRE TO THIS
      COURT PRO HAC VICE AS COUNSEL TO ARCH ACQUISITION I, LLC
     PURSUANT TO DISTRICT COURT RULE 101.1(c) AND D.N.J. LBR 2090-1


                      I, Diane E. Vuocolo, Esquire, hereby certify as follows:

                      1.     I am a shareholder at the law firm of Greenberg Traurig, LLP with

   offices at Two Commerce Square, 2001 Market Street, Philadelphia, PA 19103. I am

   admitted to practice law in the State of New Jersey.

                      2.     I am a member in good standing since 1986 in both the federal and

   state courts of New Jersey.




   CHI 57,142,692v1
Case 08-14631-GMB Doc 126-1 Filed 04/09/08 Entered 04/09/08 14:50:12                             Desc
         Certification of Diane Vuocolo in support of application Page 2 of 2



                      3.     The applicant, Nancy A. Mitchell, Esquire, is a shareholder in the

   law firm of Greenberg Traurig, LLP.

                      4.     Ms. Mitchell is admitted to practice in (1) the State of Illinois

   (admitted in 1988); and (2) the State of New York (admitted in 2007).

                      5.     I know Ms. Mitchell to be of good character.

                      6.     Ms. Mitchell has extensive experience in the area of bankruptcy

   law and has particular expertise in this matter and has been requested by Arch

   Acquisition I, LLC to represent it as lead bankruptcy counsel.

                      7.     This Certification is submitted in support of an application to admit

   Nancy A. Mitchell, Esquire pro hac vice in this matter.

                      I certify that the foregoing statements made by me are true. I am aware

   that if any of the foregoing statements made by me are willfully false, I am subject to

   punishment.

   Dated: April 9, 2008
                                                    GREENBERG TRAURIG, LLP
                                                    Counsel for Arch Acquisition I, LLC


                                                    By: /s/ Diane E. Vuocolo
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   CHI 57,142,692v1
